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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
MELINDA MITCHELL and HARVEY MITCHELL,
individually, and on behalf of a class of all others
similarly situated,

                           Plaintiffs,


             -against-                                            12 Civ. 2674 (LAK)


THE CITY OF NEW YORK, a municipal entity; New
York City Police Officer JAMES SCHUESSLER, Shield
No. 28718; New York City Police Officer MARK
BRINADZE; New York City Police Captain JOSEPH
GULOTTA; New York City Police Sergeant DANIELLE
ROVENTINI; New York City Police Lieutenant
KATHLEEN CAESAR; New York City Police
Supervisors And Commanders RICHARD ROEs
1-50; New York City Police Officers JOHN DOEs
1-50, individually and in their official capacities,
jointly and severally,

                     Defendants.
--------------------------------------x


                              MEMORANDUM OPINION


                           Appearances:

                                   Jeffrey A. Rothman
                                   Jonathan C. Moore
                                   Jennifer Rolnick Borchetta
                                   BELDOCK LEVINE & HOFFMAN LLP

                                   Attorneys for Plaintiffs

                                   Brian C. Francolla
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                                   NEW YORK CITY LAW DEPARTMENT

                                   Attorneys for Defendants
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LEWIS A. KAPLAN, District Judge.

                Named plaintiffs Melinda and Harvey Mitchell1 bring this putative class action against

the City of New York and certain named and unnamed police officers, asserting claims for false

arrest, malicious prosecution, abuse of process, excessive force, and municipal liability under Section

1983 as well as various state law claims.2 Plaintiffs move for partial summary judgment on their false

arrest and state law battery claims. Defendants cross-move for summary judgment dismissing all of

plaintiffs’ claims.



                                                  Facts3

                In or about December 2010, Lieutenant Caesar of the New York City Police

Department responded to an incident at 2142 Atlantic Avenue in Brooklyn.4 On that occasion, she

discovered that the premises at the location appeared abandoned, having little inside other than a bar




        1

                Plaintiffs Melinda and Harvey Mitchell are not related. Rothman Decl. [DI 25], Ex. 1 at
                107:5-22 (M. Mitchell Dep.), Ex. 2 at 27:2-14, 52:8-14 (H. Mitchell Dep.).
        2

                Plaintiffs bringing state law claims of this nature in federal court nevertheless must file a
                timely notice of claim under N.Y. GEN. MUN. L. § 50-e. See generally Corcoran v. New
                York Power Auth., 202 F.3d 530, 541 (2d Cir. 1999). These plaintiffs concededly did not
                do so. See DI 37. This failure merits summary judgment dismissing their state law claims.
                E.g., Fincher v. Cnty. of Westchester, 979 F. Supp. 989, 1003 (S.D.N.Y. 1997); see also
                Lipinski v. Cnty. of Broome, 175 A.D.2d 369, 572 N.Y.S.2d 98, 99 (3d Dep’t 1991)
                (describing the process for moving for leave to file a late notice of claim in state court
                where plaintiffs have brought their state law claims in federal court).
        3

                Unless otherwise indicated, the facts upon which the Court relies are undisputed.
        4

                Defs’ Rule 56.1 Statement [DI 21] ¶ 3; Francolla Decl. [DI 19], Ex. B at 31:23-33:8, 64:23-
                78:20 (Caesar Dep.).
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                                                                                                              2

and a “dance pole area.”5 Police subsequently made it a point to drive past the house.6

                 At approximately 2:15 a.m. on January 9, 2011, about one month later, Lieutenant

Caesar observed three individuals standing on the porch at 2142 Atlantic Avenue.7 She then called

another officer.8 Lieutenant Hopkins, Deputy Inspector Gulotta, and approximately thirty additional

officers responded to the address.9 Deputy Inspector Gulotta believed that there had been a history

of parties at the location and incorrectly believed that a rape had been committed there several weeks

earlier.10

                 The officers observed that the first-floor windows were blocked and that there was

a real estate sign in the front of the property, which was surrounded by a waist-high steel fence.11




        5

                 DI 21 ¶¶ 4-5; DI 19, Ex. B at 29:13-23, 31:24-38:19, 43:9-13 (Caesar Dep.).
        6

                 DI 21 ¶ 5; DI 19, Ex. B at 44:9-14 (Caesar Dep.).
        7

                 DI 21 ¶ 7; DI 19, Ex. B at 29:13-30:9, 50:23-51:11, 53:15-19 (Caesar Dep.).
        8

                 DI 21 ¶ 7; DI 19, Ex. B at 55:7-12 (Caesar Dep.).
        9

                 DI 21 ¶¶ 8-9; DI 19, Ex. E at 28:14-31:16 (Hopkins Dep.), Ex. F at 44:13-46:6 (Gulotta
                 Dep.).
        10

                 DI 21 ¶¶ 43, 45; DI 19, Ex. F at 36:10-23, 37:6-21, 38:2-11, 39:17-40:6 (Gulotta Dep.).

                 Plaintiffs object that “Captain Gulotta’s . . . understanding that parties had been held at the
                 location previously [is] hearsay.” Pls’ Response to Defs’ Rule 56.1 Statement [DI 32] ¶¶ 43,
                 45. The objection is overruled. The testimony is being introduced to show Deputy Inspector
                 Gulotta’s state of mind, not for the truth of the matter. See Tuccio v. Papstein, 307 F. App’x
                 545, 546 (2d Cir. 2009).
        11

                 DI 21 ¶¶ 10-13, 17; DI 19, Ex. C at 42:2-43:1 (M. Mitchell Dep.), Ex. D at 35:20-36:15 (H.
                 Mitchell Dep.), Ex. F at 81:7-16 (Gulotta Dep.), Ex. G at 44:21-47:3 (Moscato Dep.).
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                                                                                                            3

They attempted to enter the house but found that the front door was locked.12 Lieutenant Caesar then

attempted to enter the building through the back door and found that it was “blocked, like [by]

something heavy against the door.”13 She and other officers ultimately were able to push the door

open.14

                   Upon entering, they discovered that a party was taking place inside15 with between

40 and 60 people in attendance.16 The party included disco lights, a bar, a DJ and DJ booth, a

television, and some couches.17 Detective Inspector Gulotta smelled a strong odor of marijuana,18

and Office Schuessler observed six to eight “nickel” or “dime” bags on the floor containing what

appeared to be marijuana and crack cocaine.19

                   Deputy Inspector Gulotta and Lieutenant Caesar believed that the house had been


          12

                   DI 21 ¶¶ 15-16; DI 19, Ex. H at 22:25-25:3 (Schuessler Dep.).
          13

                   DI 21 ¶¶ 16, 20; DI 19, Ex. B at 78:20-79:9 (Caesar Dep.).
          14

                   DI 21 ¶ 20; DI 19, Ex. B at 79:13-17 (Caesar Dep.).
          15

                   DI 21 ¶ 22; DI 19, Ex. F at 50:18-51:7 (Gulotta Dep.).
          16

                   Pls’ Rule 56.1 Statement [DI 24] ¶¶ 19-20; DI 25, Ex. 2 at 57:22-58:4 (H. Mitchell Dep.),
                   Ex. 4 at 1.
          17

                   DI 21 ¶ 23; DI 19, Ex. F at 50:18-51:7 (Gulotta Dep.), Ex. C at 48:3-13 (M. Mitchell Dep.),
                   Ex. D at 39:18-40:23 (H. Mitchell Dep.).
          18

                   DI 21 ¶ 22; DI 19, Ex. F at 50:18-51:7 (Gulotta Dep.). Officer Peterson, however, did not
                   recall smelling marijuana in the house. DI 25, Ex. 25 at 152:5-10 (Peterson Dep.).
          19

                   DI 21 ¶¶ 36-37; DI 25, Ex. 15 at 91:12-94:4 (Schuessler Dep.).

                   The police later recovered nine bags of “vegetative matter,” one cigarette of “vegetative
                   matter,” and one bag containing a “solid substance.” DI 21 ¶ 47; DI 19, Ex. I, J.
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abandoned by its owner.20 There were portable heaters throughout and extension cords that ran to

a neighbor’s garage.21 When asked, nobody in attendance could or would identify the party’s host.22

Plaintiffs testified that attendees responded “we didn’t do anything, we don’t know who the person

is.”23 Melinda and Harvey Mitchell stated during their depositions that they had learned of the party

through various DJs and believed they were permitted to be there, but they did not know who owned

the house or who was hosting the party.24

                After the party’s attendees failed to identify who was hosting the party or owned the

house, Deputy Inspector Gulotta decided to arrest everyone inside.25 Melinda Mitchell then was

arrested and handcuffed by an officer who allegedly refused to loosen her handcuffs after she

complained that they were too tight.26 She remained handcuffed for approximately one hour, which



       20

                DI 21 ¶¶ 5, 29, 34; DI 19, Ex. B at 29:13-23, 31:19-38:19 (Caesar Dep.), Ex. F at 139:20-
                140:19 (Gulotta Dep.). Melinda Mitchell testified also that it didn’t appear that anyone lived
                in the house. DI 21 ¶ 30; DI 19, Ex. C at 52:17-53:12 (M. Mitchell Dep.).
       21

                DI 21 ¶¶ 32-33; DI 19, Ex. C at 59:19-60:4 (M. Mitchell Dep.), Ex. F at 65:3-8 (Gulotta
                Dep.), Ex. H. at 39:9-41:10 (Schuessler Dep.).
       22

                DI 21 ¶¶ 38-41; DI 19, Ex. C at 66:3-17, 68:9-20 (M. Mitchell Dep.), Ex. D at 63:20-64:11,
                67:22-68:7 (H. Mitchell Dep.), Ex. F at 50:18-51:11, 139:20-140:21 (Gulotta Dep.).
       23

                DI 24 ¶ 26; DI 25, Ex. 1 at 68:21-69:6 (M. Mitchell Dep.), Ex. 2 at 64:1-65:13 (H. Mitchell
                Dep.).
       24

                DI 25, Ex. 1 at 23:10-17, 57:9-57:18, 66:9-12, 68:9-17 (M. Mitchell Dep.), Ex. 2 at 30:10-
                14, 46:2-10, 49:11-17, 64:1-19 (H. Mitchell Dep.).
       25

                DI 21 ¶ 46; DI 19, Ex. F at 57:14-58:5, 153:14-17 (Gulotta Dep.). Lieutenant Caesar
                testified that Detective Gulotta consulted with the other officers and then decided to arrest
                all of those present at the party. Id. Ex. B at 88:13-18 (Caesar Dep.).
       26

                DI 21 ¶¶ 48-49; DI 19, Ex. C at 74:7-78:2 (M. Mitchell Dep.).
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allegedly caused bruising on her wrist, several days’ soreness, and necessitated treatment with ice

packs and six Advil over two days.27 Harvey Mitchell was arrested and handcuffed for 20-30

minutes, which left marks on his arms and caused him two to three hours of pain.28

                Melinda Mitchell was released with a desk appearance ticket requiring her to appear

in court approximately one month later. The Kings County District Attorney’s Office ultimately

elected not to prosecute.29 Harvey Mitchell accepted an adjournment in contemplation of dismissal

on April 12, 2011.30



                                              Discussion

I.     The Summary Judgment Standard

                Summary judgment is appropriate if there is no genuine issue of material fact and the

moving party is entitled to judgment as a matter of law.31 Where the burden of proof at trial would

fall on the nonmoving party, it ordinarily is sufficient for the movant to point to a lack of evidence

to go to the trier of fact on an essential element of the nonmovant’s claim.32 In that event, the


       27

                DI 21 ¶¶ 51-52, 54; DI 19, Ex. C at 82:25-83:3, 87:24-92:7 (M. Mitchell Dep.).
       28

                DI 24 ¶¶ 68-70; DI 19, Ex. D at 76:13-78:11 (H. Mitchell Dep.).
       29

                DI 21 ¶¶ 62-64; DI 25, Ex. 1 at 98:19-99:14 (M. Mitchell Dep.), Ex. 6.
       30

                DI 21 ¶ 65; DI 19, Ex. L.
       31

                Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986); White v. ABCO Eng’g Corp.,
                221 F.3d 293, 300 (2d Cir. 2000); see also FED. R. CIV. P. 56(c).
       32

                Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986); Virgin Atl. Airways Ltd. v. British
                Airways PLC, 257 F.3d 256, 273 (2d Cir. 2001).
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nonmoving party must come forward with admissible evidence sufficient to raise a genuine issue of

fact for trial in order to avoid summary judgment.33 “Evidence presented by the nonmoving party

[that] is merely colorable, or is not significantly probative . . . or [] is based purely on conjecture or

surmise” will not defeat summary judgment.34

                 There is another factor relevant to the proper disposition of this motion. Local Civil

Rule 56.1 of this Court provides in relevant part as follows:

                 “(a) Upon any motion for summary judgment . . . , there shall be annexed to the
                 notice of motion a separate, short and concise statement . . . of the material facts as
                 to which the moving party contends there is no genuine issue to be tried. Failure to
                 submit such a statement may constitute grounds for denial of the motion.”

                   “(b) The papers opposing a motion for summary judgment shall include a
                 correspondingly numbered paragraph responding to each numbered paragraph in the
                 statement of the moving party and if necessary, additional paragraphs containing a
                 separate, short and concise statement of additional material facts as to which it is
                 contended that there exists a genuine issue to be tried.”

                 “(c) Each numbered paragraph in the statement of material facts set forth in the
                 statement required to be served by the moving party will be deemed to be admitted
                 for purposes of the motion unless specifically controverted by a correspondingly
                 numbered paragraph in the statement required to be served by the opposing party.”

                 “(d) Each statement by the movant or opponent pursuant to Rule 56.1(a) and (b),
                 including each statement controverting any statement of material fact, must be
                 followed by citation to evidence which would be admissible, set forth as required by
                 Fed. R. Civ. P. 56(c)..”

                 The purpose of the rule “is to assist the Court in understanding the scope of the




        33

                 See. e.g., Nora Beverages. Inc. v. Perrier Grp. of Am., Inc., 269 F.3d 114, 123–24 (2d Cir.
                 2001); Raskin v. Wyatt Co., 125 F.3d 55, 65–66 (2d Cir. 1997).
        34

                 Savino v. City of New York, 331 F.3d 63, 71 (2d Cir. 2013) (citations and quotation marks
                 omitted).
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summary judgment motion by highlighting those facts which the parties contend are in dispute.”35

In order for a Rule 56.1 statement in opposition to a motion for summary judgment to serve this

purpose, it must respond appropriately to the movant’s statement. Thus, “[a] proper Rule 56.1

statement submitted by a non-movant should consist of a paragraph-by-paragraph response to the

movant’s 56.1 statement, much like an answer to a complaint.”36 It must cite admissible evidence

in support of the non-movant’s contention creates a genuine issue for trial37 or, where the non-movant

contends that further discovery is required to enable it to raise a genuine issue with admissible

evidence, must be accompanied by a Rule 56(d) affidavit that demonstrates such a need with respect

to each relevant averment in the movant’s Rule 56.1 Statement.

                In this case, both sides have submitted Rule 56.1 Statements and responses. The

material facts substantially are uncontested. To the extent that plaintiffs object to defendants’

material facts relied upon by this Court, their objections have been addressed explicitly above or are

insufficient because they are premised on grounds of “materiality” rather than accuracy, admissibility,

or some other appropriate basis.38


       35

                Archie Comic Publ’ns, Inc. v. DeCarlo, 258 F. Supp. 2d 315, 317 (S.D.N.Y. 2003) (citing
                Rodriguez v. Schneider, No. 95 Civ. 4083(RPP), 1999 WL 459813, at *1 n.3 (S.D.N.Y. June
                29, 1999)). Accord, e.g., Goldstick v. The Hartford, Inc., No. 00 Civ. 8577(LAK), 2002 WL
                1906029, at *1 (S.D.N.Y. Aug. 19, 2002); Fernandez v. DeLeno, 71 F. Supp. 2d 224, 227-28
                (S.D.N.Y. 1999).
       36

                Archie Comic, 258 F. Supp. 2d at 317-18 (citation omitted).
       37

                Id.
       38

                E.g., Pl. Resp. to Def. 56.1 Statement [DI 32] ¶ 29 (“Objection. Captain Gulotta’s
                conclusory statement that 2142 Atlantic Avenue appeared uninhabited to him is immaterial
                . . . .”); ¶ 33 (“Admit that Police Officer Schuessler has so testified concerning a power cord
                running out the back door into a neighboring garage. Objection, as this fact is immaterial,
                as there is no indication that any of the party guests had access to, or were in, the backyard
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II.    False Arrest

                To prevail on a claim for false arrest under Section 1983, a plaintiff must show that

“(1) the defendant intended to confine [the plaintiff]; (2) plaintiff was conscious of the confinement;

(3) plaintiff did not consent to the confinement and (4) the confinement was not otherwise

privileged.”39 Confinement is “privileged” where the police have probable cause to arrest.40 An

officer has probable cause to arrest where he or she “has knowledge or reasonably trustworthy

information sufficient to warrant a person of reasonable caution in the belief that an offense has been

committed by the person to be arrested.”41 The arresting officer’s subjective motivation for the arrest

is immaterial as long as there is probable cause to arrest the suspect for some crime.42 One officer’s

knowledge is imputed to all other officers involved in an investigation,43 and a later determination

that an arresting officer relied upon mistaken information is immaterial as long as the officer

reasonably relied on it at the time of arrest.44 A court may determine that probable cause existed as

a matter of law where “there is no dispute as to the pertinent events and the knowledge of the




                at any point.”).
       39

                Singer v. Fulton County Sheriff, 63 F.3d 110, 118 (2d Cir. 1995).
       40

                Covington v. City of New York, 171 F.3d 117, 122 (2d Cir. 1999).
       41

                Singer, 63 F.3d at 119 (citation and internal quotations omitted).
       42

                Devenpeck v. Alford, 543 U.S. 146, 152 (2004).
       43

                De Michele v. City of New York, 09 Civ. 9334 (PGG), 2012 WL 4354763, at *7 (S.D.N.Y.
                Sept. 24, 2012) (citing United States v. Colon, 250 F.3d 130, 135 (2d Cir. 2001)).
       44

                Bernard v. United States, 25 F.3d 98, 103 (2d Cir. 1994).
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officers.”45

               Defendants argue that they had probable cause to arrest plaintiffs for criminal trespass

in the second degree, trespass, loitering in the first degree, criminal possession of a controlled

substance in the seventh degree, and unlawful possession of marijuana. Because the Court concludes

that the undisputed facts show that the police had probable cause to arrest the plaintiffs for trespass,

it does not consider the other proffered justifications.

               “A person is guilty of trespass when he knowingly enters or remains unlawfully in or

upon premises.”46 An individual has license and privilege to be at a premises which is “open to the

public” “ unless he defies a lawful order not to enter or remain, personally communicated to him by

the owner of such premises or other authorized person.”47 Extrapolating from the factors that a jury

might consider in determining whether premises are “open to the public” in a trespass or burglary

prosecution, an arresting officer making the same determination in the field should take into account:

               “the type of building involved; who owned the building; whether such ownership was
               posted or advertised; the physical condition and general appearance of the building;
               the purpose, if any, for which it was being used; whether members of the public were
               expressly or impliedly invited to enter; whether the public moved freely in and out of
               the building; whether doors and windows of the building were intact and were closed,
               locked or blocked; and whether any warning signs were conspicuously posted; as well
               as any other evidence which might have some bearing on their determination in this
               regard.”48


        45

               Weyant v. Okst, 101 F.3d 845, 852 (2d Cir. 1996).
        46

               N.Y. PENAL LAW § 140.05 (McKinney).
        47

               Id. § 140.00.
        48

               People v. Taylor, 114 Misc. 2d 680, 683-84, 452 N.Y.S.2d 526, 528-29 (Sup. Ct. 1982); see
               generally Harris v. Phillips, 05 Civ. 2870 (RRM), 2013 WL 1290790, at *10 (E.D.N.Y.
               Mar. 28, 2013).
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                A person is licensed and privileged to enter private property where “he has obtained

the consent of the owner or another whose relationship to the premises gives him authority to issue

such consent.”49 One who “honestly believes that he is licensed or privileged to enter, is not guilty

of any degree of criminal trespass.”50

                Relevant here is not whether the plaintiffs in fact knowingly entered or remained

unlawfully at 2142 Atlantic Avenue, but whether the police had probable cause to believe that they

had done so. In other words, probable cause is established and summary judgment for the defendants

is warranted if there is no dispute as to the relevant events and that the police had knowledge

“sufficient to warrant a person of reasonable caution” to believe that the arrestees committed

trespass.51

                The undisputed evidence demonstrates that the police were reasonable in believing

that 2142 Atlantic Avenue was not “open to the public.” The house at that address was a private

residence, not a store, park, or other obviously public facility. When the police arrived, they

encountered a locked front door, a barricaded back door, and observed blacked out windows. From

the police’s perspective, there was a clear intention on the part of those inside to keep others – i.e.,

members of the public – out of the house. Such behavior is uncommon in public spaces. That the

police had concluded that the structure was an abandoned house based on information gleaned several

weeks earlier when they investigated an incident there further provided them with a basis to believe




        49

                People v. Graves, 76 N.Y.2d 16, 20 (1990).
        50

                People v. Basch, 36 N.Y.2d 154, 159 (1975).
        51

                Singer, 63 F.3d at 119.
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                                                                                                        11

that the property was not open to the public.52

               For many of the same reasons and several more, the police were reasonable in

believing that those inside the house did not have license or privilege to be there. Most compelling

is that no one inside would or could answer when asked who owned the apartment and who was

throwing the party. In the face of such answers, and taking into account the portable heaters and

extension cords that ran through the house and to a neighbor’s garage, the police possessed sufficient

reliable facts to conclude that the house had been abandoned and that those inside were using it as

a party venue without the legal owner’s knowledge or permission.53

               This is not to say that any or all of the arrestees would have been convicted on these

facts if charged with trespass. But police are not expected to “sit as prosecutor, judge, or jury”54 or

to “explore and eliminate every theoretically plausible claim of innocence before making an arrest.”55

“Their function is to apprehend those suspected of wrongdoing, and not to finally determine guilt

through a weighing of the evidence.”56

       52

               The front door was locked and the back door was closed but unlocked when Lieutenant
               Caesar entered the house in or about December 2010. DI 19, Ex. B at 32:23-36:14 (Caesar
               Dep.).
       53

               Cf. Davis v. City of New York, 373 F. Supp. 2d 322, 332-33 (S.D.N.Y. 2005) (holding that
               the police had probable cause to arrest plaintiffs for trespass where they were found on the
               roof of a building with no apparent commercial or residential use and there was no evidence
               or claim by the plaintiffs that they had license or privilege to be there).
       54

               Krause v. Bennett, 887 F.2d 362, 372 (2d Cir. 1989).
       55

               Martinez v. Simonetti, 202 F.3d 625, 635 (2d Cir. 2000).
       56

               Krause, 887 F.2d at 372.

               Even if the Court were to have determined that there was not probable cause to arrest, there
               certainly was arguable probable cause sufficient to find that the officers are entitled to
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III.   Malicious Prosecution57

               To prevail on a claim of malicious prosecution, a plaintiff must demonstrate (1) the

initiation or continuation of a criminal proceeding against them; (2) termination of the proceeding

in plaintiff’s favor; (3) lack of probable cause for commencing the proceeding; and (4) actual malice

as a motivation for defendant’s actions.58 When raised as a Section 1983 claim, a plaintiff must

demonstrate also “a seizure or other ‘perversion of proper legal procedures’ implicating the plaintiff’s

personal liberty and privacy interests under the Fourth Amendment.”59

               Defendants argue that Melinda Mitchell’s malicious prosecution claim must fail

because issuance of a desk appearance ticket does not give rise to such a claim under state or federal

law. The law in this area is somewhat unsettled. Relying on Rosario v. Amalgamated Ladies’

Garment Cutters’ Union,60 this Court held previously that issuance of a desk appearance ticket could

support a malicious prosecution claim.61 Although Rosario remains good law, two more recent

Second Circuit decisions cast doubt on whether a Section 1983 claim for malicious prosecution can




               qualified immunity. See Cerrone v. Brown, 246 F.3d 194, 202-03 (2d Cir. 2001).
       57

               Only Melinda Mitchell asserts a claim for malicious prosecution.
       58

               Kinzer v. Jackson, 316 F.3d 139, 143 (2d Cir. 2003).
       59

               Washington v. County of Rockland, 373 F.3d 310, 316 (2d Cir. 2004) (citation omitted);
               Garrett v. Port Auth. of New York & New Jersey, 04 Civ. 7368 (DC), 2006 WL 2266298, at
               *6 (S.D.N.Y. Aug. 8, 2006).
       60

               605 F.2d 1228 (2d Cir. 1979).
       61

               Lopez v. City of New York, 901 F. Supp. 684, 688 (S.D.N.Y. 1995).
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lie under these facts. Singer v. Fulton County Sheriff62 drew a bright line, declaring that “[t]ypically,

a warrantless deprivation of liberty from the moment of arrest to the time of arraignment will find

its analog in the tort of false arrest . . . while the tort of malicious prosecution will implicate

post-arraignment deprivations of liberty.”63 Such a rule would affect both state law malicious

prosecution claims and claims under Section 1983. The court there, however, did not consider a

situation in which the plaintiff was subjected to some official action – such as receipt of a summons

or desk appearance ticket – between arrest and arraignment, as is the case here.

                More on point is Burg v. Gosselin,64 which held that a summons that did not restrict

the suspect’s travel and required a single court appearance did not effect a seizure for Fourth

Amendment purposes.65 Courts in this district similarly have held that “[a] charge and a warrantless

arrest – concluding with the issuance of the desk appearance ticket – may be a sufficient deprivation

of liberty to support a claim for false arrest, but do not amount to a prosecution and cannot alone

support a claim for malicious prosecution.”66

                Melinda Mitchell has failed to allege facts or adduce any evidence demonstrating that

she was seized, for Fourth Amendment purposes, under Burg. Her only claim is that the police issued



        62

                63 F.3d 110 (2d Cir. 1995).
        63

                Id. at 117.
        64

                591 F.3d 95 (2d Cir. 2010).
        65

                Id. at 98, 101 (“We therefore are joining a consensus of appellate courts in holding that a
                pre-arraignment, non-felony summons requiring no more than a later court appearance does
                not constitute a Fourth Amendment seizure.”).
        66

                Garrett, 2006 WL 2266298, at *7; Katzez, 2000 WL 23229, at *4.
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her a desk appearance ticket requiring her presence in court a single time. She does not claim and

has not shown that her travel was restricted or that she was required to appear in court multiple times.

Burg therefore is squarely on point.



IV.     Abuse of Process

                Plaintiffs’ abuse of process claim entirely is baseless. They argue that the police

arrested the party’s attendees in “retaliation” for their failure to answer who owned the apartment or

hosted the party. But no reasonable jury possibly could view as retaliation a police officer electing

to arrest someone who to all appearances is trespassing and refuses to explain how or why he in fact

is not trespassing.



V.      Excessive Force

                Plaintiffs next argue that the officers used excessive force in applying handcuffs.

                In determining such a claim, courts consider whether “1) the handcuffs were

unreasonably tight; 2) the defendants ignored the arrestee’s pleas that the handcuffs were too tight;

and 3) the degree of injury to the wrists.”67 To prevail on a claim of excessive force, a plaintiff must

demonstrate that the handcuffing “cause[d] some injury beyond temporary discomfort.”68 Section

        67

                Usavage v. Port Auth. of New York & New Jersey, 932 F. Supp. 2d 575, 592 (S.D.N.Y.
                2013) (quoting Esmont v. City of New York, 371 F. Supp. 2d 202, 215 (E.D.N.Y. 2005)).
        68

                Lynch ex rel. Lynch v. City of Mount Vernon, 567 F. Supp. 2d 459, 468 (S.D.N.Y. 2008); see
                also Faruki v. City of New York, 10 Civ. 9614 (LAP), 2012 WL 1085533, at *6 (S.D.N.Y.
                Mar. 30, 2012) (“Minor injuries from tight handcuffs are insufficient to support an excessive
                force claim under the Fourth Amendment. Plaintiff has alleged bruising of the wrists, and
                the photograph of her wrists taken after her arrest shows some redness and possibly swelling,
                but these injuries were healing two weeks after the arrest at the time of her second visit to
                Dr. Zola and are insufficient to support a constitutional violation.”); Smith v. City of New
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                                                                                                          15

1983 excessive force claims routinely are dismissed where the plaintiffs claim similar or even greater

injury than Melinda and Harvey Mitchell claim here. Plaintiffs, however, point to a recent decision

in which a court in this district denied a motion to dismiss an excessive force claim, reasoning that

“[i]f the force used was unreasonable and excessive, the plaintiff may recover even if the injuries

inflicted were not permanent or severe.”69

               The holding in Hershey has no bearing on this case. The court there denied the motion

to dismiss because the plaintiff alleged that the handcuffing caused him to suffer paresthesia in his

hands, which prevented him from engaging in leafleting activities for three weeks.70 Harvey Mitchell

claims that he was handcuffed for approximately 20-30 minutes and suffered pain for several hours.

Melinda Mitchell claims that she was handcuffed for approximately one hour and suffered pain and

bruising for approximately two days. Neither even alleges that the effects of the handcuffing limited

their ability to engage in day-to-day activities, caused severe pain, long-term damage, or anything

approximating the level required to defeat defendants’ motion for summary judgment.71


               York, 04 Civ. 3286 (TPG), 2010 WL 3397683, at *2 (S.D.N.Y. Aug. 27, 2010) (“Plaintiff’s
               only alleged injury from the handcuffing is what he described as ‘red rings’ around his wrists
               once the handcuffs were removed, lasting less than a day.”); Vogeler v. Colbath, 04 CIV.
               6071(LMS), 2005 WL 2482549, at *10 (S.D.N.Y. Oct. 6, 2005) (“the Plaintiffs’ mere claims
               of minor discomfort do not establish a triable issue that can withstand Defendant’s motion
               for summary judgment”); Rincon v. City of New York, No. 03 Civ. 8276, 2005 WL 646080,
               at *5 (S.D.N.Y. Mar. 21, 2005) (“Aside from the swelling in her wrist, Plaintiff does not
               allege that Defendants caused any other injuries. Plaintiff’s allegations are de minimus and
               simply do not amount to a constitutional violation.”).
       69

               Hershey v. Goldstein, 938 F. Supp. 2d 491, 519 (S.D.N.Y. 2013) (quoting Robison v. Via,
               821 F.2d 913, 924 (2d Cir. 1987)).
       70

               Id.
       71

               Defendants additionally are entitled to qualified immunity for their actions in handcuffing
               plaintiffs because it was and is not clearly established law that the officers used excessive
               force under the circumstances. See Beckles v. City of New York, 492 F. App’x 181, 182-83
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VI.      Municipal Liability

                Having held that plaintiffs have failed to adduce facts supporting a constitutional

claim, plaintiffs’ claim of municipal liability must fail under the rule announced in Monell.72 Even

if this were not so, plaintiffs have put forth no proof that any of the alleged violations in this case

were part of a broader city policy. They point only to other instances in which the police have

arrested large groups of people – almost all of which occurred in the context of protests, not a party.

This plainly is insufficient.



                                               Conclusion

                For the foregoing reasons, plaintiffs’ motion for partial summary judgment [DI 22]

is denied. Defendants’ motion for summary judgment [DI 18] dismissing the action is granted.



                SO ORDERED.

Dated:          February 11, 2014




                (2d Cir. 2012).
         72

                City of Los Angeles v. Heller, 475 U.S. 796 (1986) (“[N]either Monell v. New York City
                Dept. of Social Services . . . nor any other of our cases authorizes the award of damages
                against a municipal corporation based on the actions of one of its officers when in fact the
                jury has concluded that the officer inflicted no constitutional harm.”).
